Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 1 of 8 PageID #: 1056




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 RICHARD N. BELL,                            )
            Plaintiff                        )
                                             )
 v.                                          )       Case No. 1:16-cv-01174-TWP-MPB
                                             )
 CARMEN COMMERCIAL REAL                      )
 ESTATE SERVICES, INC.                       )
           Defendant.                        )

                                   MOTION FOR LEAVE TO FILE
                           SECOND MOTION FOR SUMMARY JUDGMENT AND
                          AMENDED ANSWER TO ASSERT ESTOPPEL DEFENSES

 I.     MOTION.
        Defendant CARMEN COMMERCIAL REAL ESTATE SERVICES, INC. (“Carmen”)

 moves the court for leave to file:

        (a) the Amended Answer attached as Exhibit 16 that plead defenses of estoppel and

 judicial estoppel; and

        (b) a Second Motion for Summary Judgment attached as Exhibit 17 on the issue of

 ownership of Bell’s copyrights. Carmen believes this Motion will be dispositive of this case (and

 perhaps others).

 II.    INTRODUCTION.
        In 2017, this court found that Bell wrongly withheld numerous copyright “ownership”

 documents,1 and re-opened discovery.2 As it turns out, the withheld documents were just the tip

 of the iceberg -- we now know why Bell had so tightly-guarded them. Further discovery has



        1
            Order, [#56], p. 14.
        2
            Order [#60].

                                                    1
Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 2 of 8 PageID #: 1057




 now revealed an astounding fact – that Bell has repeatedly denied owning the copyright he now

 claims to own.

        Bell was divorced in 2010. During his divorce, he was required to file two sworn

 financial declarations listing all his assets, but neither declaration listed the copyright he now

 claims to own. As a result, the divorce court divided the marital assets, but failed to address any

 copyrights.

        Failing to disclose an asset in a divorce (or bankruptcy) and then later claiming to own it

 is a classic case of “fraud on the court” that triggers “judicial estoppel.” Through this doctrine,

 Bell is barred from claiming ownership of the copyright. Moreover, the doctrine applies even if

 Bell attempts to create an “issue of fact” by now claiming that he owns a copyright. In essence,

 judicial estoppel trumps Bell’s expected claim of copyright ownership that he will make in

 response this Motion and the proposed Second Motion for Summary Judgment.

        Bell’s ex-wife told the undersigned that she has not received any portion of the hundreds

 of thousands of dollars in license fees, settlements or judgments that Bell has received from his

 copyright infringement efforts. Whether she may be entitled to a share is an issue for another

 day and another court.

 III.   JUDICIAL ESTOPPEL PREVENTS BELL FROM CLAIMING OWNERSHIP BECAUSE HE DID NOT
        DISCLOSE THE ASSET IN HIS DIVORCE.

        After finding that Bell had withheld numerous documents relevant to ownership during

 discovery, this Court reopened discovery.3     This led to a treasure trove of documents that cry

 out for the application of “judicial estoppel” on the issue of Bell’s ownership of the copyright at

 issue. Most importantly, Bell claims to have owned the copyright to the “Indianapolis Photo”

 since he allegedly took it in 2000. However, Bell went through a divorce from 2008-2011. For
        3
            See Dkt. #60.

                                                       2
Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 3 of 8 PageID #: 1058




 that divorce, he filed two Verified Financial Declarations, in March and November 2009. In

 March 2009, he did not claim ownership of any copyrights:4




        When he filed an updated Declaration in November 2009, he included additional assets,

 but he still did not claim ownership of any copyrights:5




 He made these statements under oath:6




        4
          Exhibit 3, attached to the proposed Second Motion for Summary Judgment
        5
          Exhibit 4, attached to the proposed Second Motion for Summary Judgment.
        6
          Exhibit 3, attached to the proposed Second Motion for Summary Judgment; see also
 Exhibit 4, p. 4, also attached.

                                                     3
Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 4 of 8 PageID #: 1059




 When asked if he submitted the Financial Declaration to the Court with the intent that the Court

 would rely upon it, Bell testified “Yes.” 7

        These statements were wrong because Bell knew he had an asset in the “Photo.” He

 testified that sold Community Hospital a license to use the “Photo” in “2004 or 2005” – before

 the divorce.8

 IV.    A SECOND SUMMARY JUDGMENT IS NECESSARY TO PREVENT MANIFEST INJUSTICE.
        As established in Carmen’s proposed Second Motion for Summary Judgment, (Exhibit

 17) judicial estoppel precludes Bell’s claim of copyright ownership because he took an

 inconsistent position in this litigation (i.e. that he owns the copyright to the “Photo”) despite

 failing to disclose any copyright admitting twice in his divorce, not once, but twice.9 He then

 pursued over 200 lawsuits for infringement of this copyright that he had just failed to disclose.10

        A successive summary judgment motion is particularly appropriate “1) when the

 controlling law has changed; 2) when new evidence has been discovered; and 3) when allowing

 such a motion would be necessary to correct a clear error or prevent a manifest injustice.”11

        Here, the should Court allow Carmen to file a second motion for summary judgment

 because it is necessary to prevent a manifest injustice as the newly discovered evidence goes

 straight to the heart of Carmen’s defense (and all other defendants in Bell’s cases) against Bell’s

 copyright infringement claim. If this Court rules that Bell is judicially estopped from claiming to

 own the copyright to the “Photo,” then Bell has no right to sue Carmen for infringement. Nor
        7
           Exhibit 6, Bell’s Deposition, p. 153:6 to 154:5, attached to the proposed Second Motion
 for Summary Judgment.
        8
           Exhibit 2, Deposition of R. Bell in Cause No. 1:16-cv-01193-RLY-DML, 96:13-23,
 attached to the proposed Second Motion for Summary Judgment. .
         9
           See Exhibits 3 and 4, attached to the proposed Second Motion for Summary Judgment.
        10
            Exhibit 10, Indianapolis Star Article, p. 1.
        11
            Gordon v. Veneman, 61 F. A’ppx 296, 298 (7th Cir. 2003); (citing Whitford v. Boglino,
 63 F.3d 527, 530 (7th Cir. 1995).

                                                       4
Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 5 of 8 PageID #: 1060




 would he have any right to sue any other party for infringement of the “Indianapolis Photo.”

 Such a ruling would stop Bell’s litigation campaign dead in its tracks. Carmen also notes that

 another Court in the Southern District of Indiana stayed an upcoming trial in another Bell case,

 pending the outcome of a trial in which Bell’s ownership of the copyright will be tested.12

        This Court already found that Bell withheld ownership documents during discovery. Had

 he not done so, the issue of ownership could have been raised in the first summary judgment

 motion. Bell’s wrongful withholding of ownership documents should not preclude Carmen from

 challenging Bell’s ownership of the copyright.

 V.     THE COURT SHOULD PERMIT CARMEN TO AMEND ITS ANSWER TO ASSERT AN
        ESTOPPEL DEFENSE.
        Carmen notes that FRCP 9(c)(1) lists “estoppel” (though not “judicial estoppel”) as one

 of the “defenses” that must be affirmatively pleaded. However, the law is murky as to whether

 one must plead judicial estoppel.13 In order to avoid an argument by Bell that Carmen should


        12
            See Bell v. Schulle, 1:17-cv-04222-WTL-MPB, Dkt. 28 (April 5, 2018).
        13
            Astor Chauffeured Limousine Co. v. Runnfeldt Inv. Corp., 910 F.2d 1540 (7th Cir.
 1990) (“The second potential difference between the disposition of the federal securities claims
 and the state fraud claim lies in the doctrine of judicial estoppel. We applied federal law of
 estoppel to the claims based on federal substantive law, because 28 U.S.C. Sec. 1738 does not
 apply. Section 1738 requires a federal court to give a state judgment the same effect it would
 have in state court. Judicial estoppel is not part of the law of judgments in Illinois so much as it
 is a rule of evidence or pleading. But what of the state claim? The Rules of Decision Act, 28
 U.S.C. Sec. 1652, requires federal courts to apply "[t]he laws of the several states ... as rules of
 decision in civil actions" to the extent no federal statute or rule governs. Does this require us to
 apply Illinois rules of judicial estoppel to the common law claim, on the ground that it is
 substantive, or do we treat judicial estoppel as wholly a matter of procedure, to be governed by
 the law of the court in which the case is pending? Several circuits have assumed that Erie
 requires application of the state rule. If the question "is judicial estoppel a rule of decision?" had
 been put to the drafters of the Rules of Decision Act in 1789, they would have answered: "No, it
 is a mode of process." See Paul M. Bator, Paul J. Mishkin, Daniel J. Meltzer, & David L.
 Shapiro, Hart & Wechsler's The Federal Courts and the Federal System 755 (1988). Federal
 courts then may apply their own procedural rules. The Supreme Court, though, has expanded
 Sec. 1652 beyond the understanding of 1789, treating as rules of decision those procedural rules
 that are "outcome determinative". Byrd, 356 U.S. at 536-37, 78 S. Ct. at 900. This expansion

                                                       5
Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 6 of 8 PageID #: 1061




 have pleaded “estoppel” in order for it to argue that “judicial estoppel” applies in this case,

 Carmen seeks leave to file an Amended Answer to add the defenses of “judicial estoppel” and

 “estoppel.”14 The proposed Amended Answer does not include any other changes, and leave to

 amend to make the same change was recently granted in Bell another case.15

        Federal Rule of Civil Procedure 15 governs amendments to pleadings. Per Rule 15, a

 party may amend its pleadings before trial with the opposing party’s written consent or by leave

 of the court.16 “The court should freely give leave when justice so requires.”17 The decision

 whether “to grant or deny a motion for leave to file an amended pleading is a matter purely

 within the sound discretion of the district court.”18 As demonstrated, estoppel and judicial

 estoppel bar Bell’s claim that he owns the copyright to the “Indianapolis Photo.” Here, justice

 requires that the Court permit Carmen to amend its answer to assert these defenses, to the extent

 necessary, especially because it was Bell’s wrongful withholding of “ownership” documents that

 precluded Carmen from pleading this defense earlier.

 VI.    CONCLUSION.
        In light of this recently discovered evidence, Carmen requests leave to file the Second

 Motion for Summary Judgment (Exhibit 17). Carmen also requests leave to assert the defense of




 makes the choice between state and federal law hard for a doctrine such as judicial estoppel, a
 hybrid between substance and process that on occasion affects the outcome. Mercifully, the
 parties have spared us the choice, by ignoring the potential effects of Erie. Both sides have
 treated judicial estoppel as a doctrine to be shaped by the court in which the case is
 pending.”) (citations omitted).
         14
            See, Exhibit 16 proposed Answer and Second Amended Affirmative Defenses, at ¶¶ 8
 and 9, p. 11.
         15
            Bell v. Halcyon, Case No. 1:17-cv-04418-SEB-MJD (Dkt. 67).
         16
            F.R.C.P. 15(a)(2).
         17
            F.R.C.P. 15(a)(2).
         18
            Guise v. BWM Mortg., LLC, 377 F.3d 795, 801 (7th Cir. 2004).

                                                       6
Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 7 of 8 PageID #: 1062




 estoppel, and to the extent necessary, “judicial estoppel,” by the proposed Amended Answer

 (Exhibit 16).

                                            Respectfully submitted,

                                            By:    s/ Paul B. Overhauser
                                            Paul B. Overhauser
                                            April M. Jay
                                            OVERHAUSER LAW OFFICES LLC
                                            740 W. Green Meadows Dr., Suite 300
                                            Greenfield, IN 46140-4019
                                            Phone: 317-467-9100
                                            poverhauser@overhauser.com
                                            ajay@overhauser.com
                                            Attorneys for Carmen Commercial Real Estate
                                            Services, Inc.
                                            © Overhauser Law Offices, LLC 2018

 EXHIBITS
 1       Chronological Case Summary, Cause No. 49012-0811-DR-053868
 2       Deposition of R. Bell in Cause No. 1:16-cv-01193-RLY-DML
 3       2008 Verified Financial Declaration
 4       2009 Verified Financial Declaration
 5       Bell’s Divorce Decree
 6       Deposition of R. Bell
 7       West Publishing Group Agreement
 8       Deposition of I. Levin in Cause No. 1:16-cv-01193-RLY-DML
 9       Front Page of C&M Website
 10      May 5, 2018 Indianapolis Star Article “Copyright infringement lawsuits make
         Indy skyline photo worth a lot more than 1,000 words”
 11      Google Image Search results for “Indianapolis Skyline Canal”
 12      Bell v. Bell – IN Ct. of Appeals Opinion.
 13      Retroactive License Email
 14      Compilation of Bell Demand Emails
 15      Florida Dissolution of A1 Luxury Limousine of South Florida, Inc.
 16      Proposed Amended Answer
 17      Proposed Motion for Summary Judgment




                                                   7
Case 1:16-cv-01174-JRS-MPB Document 73 Filed 05/15/18 Page 8 of 8 PageID #: 1063




                                      CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing is being filed electronically, and notice
 hereof will automatically be sent to all counsel of record that participate in electronic filing, by
 operation of the Court’s electronic filing system. Parties may access this filing through the
 Court’s system.
                                                s/ Paul B. Overhauser
                                                Paul B. Overhauser




                                                       8
